         Case 1:18-cr-00224-AJN Document 128 Filed 09/09/19 Page 1 of 1
                                          U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    September 10, 2019

FILED BY ECF

The Honorable Alison J. Nathan
United States District Judge
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

        At the conference today, the Court set a trial date of March 2, 2020. The Government
respectfully requests that time be prospectively excluded under the Speedy Trial Act, 18 U.S.C.
' 3161(h)(7)(A), between today and the start of trial, March 2, 2020. The Government submits
that the ends of justice served by the exclusion of time outweigh the best interests of the public
and the defendant in a speedy trial, because it will allow time for: (1) the Court to resolve the
defendant’s pending pre-trial motions; (2) both sides to prepare for trial; and (3) the parties to
discuss possible pre-trial resolutions. The defendant, through counsel, has consented to this
request.

                                             Respectfully submitted,


                                             GEOFFREY S. BERMAN
                                             United States Attorney

                                         by: /s/                                       .
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cc:    All Defense Counsel (by ECF)
